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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CARTER PAGE,

               Plaintiff,

        v.                                            No. 20-cv-3460 (DLF)

 JAMES B. COMEY et al.,

               Defendants.


                                          ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that the plaintiff’s motion to alter or amend the judgment and for relief from

the judgment, Dkt. 119, is DENIED.

       The case remains closed.

       SO ORDERED.


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                                                         DABNEY L. FRIEDRICH
January 18, 2023                                         United States District Judge
